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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 05-60985-CIV-O’SULLIVAN
                                     [CONSENT CASE]

   ULYSSES J. HUDSON,

          Plaintiff,

   v.

   MICHAEL CHERTOFF, as
   Secretary of the United States
   Department of Homeland Security,

        Defendant.
   ____________________________/


                                         AMENDED ORDER

          THIS MATTER comes before the Court on the Plaintiff’s Motion Requesting

   Injunctive Relief as Part of Final Judgment (DE # 231, 01/11/2007). Having reviewed

   the applicable filings and law and having heard argument from counsel, for the reasons

   stated more fully below, it is

          ORDERED AND ADJUDGED that the Plaintiff’s Motion Requesting Injunctive

   Relief as Part of Final Judgment (DE# 231, 01/11/07) is GRANTED in part and DENIED

   in part.

                                          INTRODUCTION

          A jury returned a verdict in favor of the plaintiff’s claims against the government

   for discrimination under the Rehabilitation Act of 1973, 29 U.S.C. 701, et seq., and for

   retaliation under Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000, et seq. After

   trial and the return of the jury’s verdict for the plaintiff, the plaintiff filed his motion
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   requesting injunctive relief as part of final judgement (D.E. # 231, 01/11/2007). The

   plaintiff seeks to expunge certain documents pertaining to discrimination from his

   personnel records and remove the stated reason for his employment termination. The

   defendant opposes the motion and requests the court to deny the plaintiff’s motion.

   (D.E. # 238-1, 01/30/2007).

                                  FACTUAL BACKGROUND

         The plaintiff was employed by the United States Customs Service and the

   Department of Homeland Security, Immigration and Customs Enforcement as an

   Intelligence Research Specialist from 1995 through February 26, 2005. In June 2005

   the plaintiff filed this lawsuit alleging that Defendant discriminated against him based

   on his disability and retaliated against him for opposing unlawful employment activities

   during a period from May 2002 through plaintiff’s employment termination on February

   26, 2005. During this time frame the plaintiff was placed on a leave of absence as

   opposed to accommodating his disability. Defendant also issued certain warnings to

   the plaintiff, such as failing to submit proper medical documentation on a timely basis

   and improperly using a government credit card. Defendant eventually placed the

   plaintiff on “absence without leave” or “AWOL” status that Defendant ultimately

   used as the basis to terminate the plaintiff’s employment on February 26, 2005.

         This case was tried before a jury from November 1, 2006, through November

   7, 2006. On November 7, 2006, the jury found that defendant’s actions for the time

   period, from May 2002 through February 26, 2005, constituted unlawful employment

   practices. See Jury Verdict Form (D.E. 186).


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          After the jury returned a verdict in the plaintiff’s favor, the plaintiff filed the

   present motion seeking to expunge certain documents pertaining to discrimination from

   his personnel records and remove the stated reason for his employment termination, so

   that the taint of discrimination and retaliation does not linger and, thus, prevent him

   from attempting to return to gainful employment. The defendant filed Defendant’s

   Response in Opposition to Plaintiff’s Motion for Injunctive Relief requesting to deny the

   plaintiff’s motion. (D.E. # 238-1, 01/30/2007). The defendant also provided a copy of

   the plaintiff’s personnel file under seal. (D.E. # 239, 01/30/2007). The plaintiff filed

   Plaintiff’s Reply in Support of his Motion Requesting Injunctive Relief as Part of Final

   Judgment (D.E. # 241, 02/09/2007) and a true and correct copy of the plaintiff’s Official

   Personnel File (“OPF”) as produced by the defendant in discovery under seal (D.E. #

   242, 01/09/2007). The plaintiff alleges that the two personnel files, produced by the

   defendant under seal (D.E. # 239, 01/30/2007) and produced by it during discovery

   (D.E. # 242, 01/09/2007) contain different documents. (D.E. # 241 at 2.) Both parties

   agree that this Court has full discretion to grant equitable relief as it deems appropriate

   utilizing its broad equitable powers under 42 U.S.C. § 2000e-5(g)(1).

                                             ANALYSIS

          I.     The District Court Has Full Discretion To Grant Equitable Relief As It
                 Deems Appropriate.

          Section 2000e-5(g)(1) of Title 42 of the United States Code provides that the

   court may enjoin the defendant from engaging in unlawful employment practice and

   order any other equitable relief as the court deems appropriate. Id. The parties agree



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   that 42 U.S.C. § 2000e-5(g)(1) applies to the equitable relief requested in the present

   case vesting broad discretion in granting equitable relief with this Court. See Albemarle

   Paper Co. v. Moody, 422 U.S. 405, 418 (1975) (“Congress took care to arm the courts

   with full equitable powers”); Kilgo v. Bowman Transp., Inc. 789 F.2d 859, 880 (11th Cir.

   1986) (Under Title VII, courts have been granted broad equitable powers to remedy

   statutory violations by fashioning the most complete relief possible). Thus, this Court

   has full discretion to grant equitable relief as it deems appropriate utilizing its broad

   equitable powers under 42 U.S.C. § 2000e-5(g)(1) to remedy the statutory violations

   determined by the jury.

      II. The Plaintiff is Entitled to Equitable Relief Under 42 U.S.C. § 2000e-5(g)(1).

           The parties disagree as to whether the plaintiff is entitled to the equitable relief

   requested. The defendant argues that the plaintiff failed to timely plead the claim for

   injunctive relief. The defendant’s contention that the plaintiff has not “specifically

   plead[ed]” to establish grounds for equitable relief lacks merit. (D.E. # 238-1, p.2,

   01/30/2007). The plaintiff continuously demanded equitable relief in his amended

   complaint. (D.E. # 19 at pp. 32, 33-34, 35, 37, 39, 43, 44-45, 46-47).1 Moreover, the

   Federal Rules of Civil Procedure state that "every final judgment shall grant the relief to

   which the party in whose favor it is rendered is entitled, even if the party has not

   demanded such relief in the party's pleadings." Fed.R.Civ.P. 54(c). (emphasis added)

   The rule allows the Court to grant relief, to which a party in entitled, even if it has not



           1
            The plaintiff prayed for “any and all such relief, as this Court may deem to be just and proper.”
   See D.E. # 19 at 47.

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   requested such relief, unless the relief granted “has improperly and substantially

   prejudiced” the opposing party. See Rau v. Apple-Rio Management Co., Inc., 85 F.

   Supp. 2d 1344, 1350 (N.D.Ga. 1999), aff’d 251 F.3d 161 (Table) (11th Cir. 2001) (citing

   Albemarle Paper Co. v. Moody, 422 U.S. 405, 424 (1975) and International Harvester

   Credit Corp. v. East Coast Truck, 547 F.2d 888, 891 (5th Cir. 1977)) (internal citations

   omitted). The Court finds that defendant received sufficient notice of plaintiff's desire for

   equitable relief to avoid prejudice. Thus, the plaintiff’s motion for requesting injunctive

   relief as part of final judgment was timely filed.

           The proper standard for granting injunctive relief is stated in 42 U.S.C. § 2000e-

   5(g)(1), that is:

           If the court finds that the respondent has intentionally engaged in or is
           intentionally engaging in an unlawful employment practice charged in the
           complaint, the court may enjoin the respondent from engaging in such unlawful
           employment practice, and order such affirmative action as may be appropriate...,
           or any other equitable relief as the court deems appropriate. Id. (emphasis
           added)

           The jury found that the defendant has intentionally engaged in an unlawful

   employment discrimination practice. Accordingly, this Court finds that the plaintiff is

   entitled to equitable relief under 42 U.S.C. §2000e-5(g)(1).

                                III. Specific Injunctive Relief Ordered.

           In Rau v. Apple-Rio Management Co., Inc., 85 F. Supp. 2d 1344, 1351

   (N.D.Ga.. 1999), aff’d 251 F.3d 161 (Table) (11th Cir. 2001)2, although the court

           2
             The decision of the Court of Appeals for the Eleventh Circuit is referenced in a "Table of
   Decisions Without Reported Opinions" appearing in the Federal Reporter. The Eleventh Circuit provides
   by rule that unpublished opinions are not considered binding precedent. They may be cited as persuasive
   authority, provided that a copy of the unpublished opinion is attached to or incorporated within the brief,
   petition or motion. Eleventh Circuit Rules, Rule 36-2, 28 U.S.C.A. See Rau v. Apple Rio Management

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   refused to grant the extensive relief requested by the plaintiff, it held that defendants

   should be enjoined from providing a negative evaluation of plaintiff's performance to

   any prospective employer. Id. In Rau, as in the case at hand, the court concluded the

   plaintiff, who was no longer employed by the defendants, “could be prevented from

   obtaining a job equivalent to the one she held before her discriminatory demotion,

   thereby perpetuating its discriminatory effect.” Id. (Internal citations omitted).

           In Stokley v. Lewis Carpet Mills, Inc., the court found the plaintiffs to be entitled

   to “assurances that the fact of their termination will not be used against them in the

   future” and issued an appropriate order that permanently enjoined the defendant, its

   agents, servants and employees “from stating expressly or impliedly or in any other

   way representing in its employment records that the plaintiffs were terminated for cause

   on [date]”. Stokley, 1977 WL 838, at *1 (N.D. Ga. 1977). The court also ordered the

   defendant to erase any such references existing at the date of the injunction. Id.

   Similarly, in Herawi v. State of Ala. Dept. of Forensic Sciences, 330 F. Supp. 2d 1305

   (M.D.Ala.. 2004), the court granted injunctive relief directing a former employer to

   remove certain documents from the plaintiff’s personnel file and retain them separately

   under seal. The Court reached the identical results in McIntosh v. Irving Trust Co.,

   873 F. Supp. 872, 880 (S.D.N.Y. 1995) (granting the plaintiff's request that the

   defendant purge its personnel files and removed from its personnel files any and all

   reprimands, evaluations and other items of that nature from the date when the



   Co., Inc., 251 F.3d 161 (11th Cir. 2001).



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   discriminatory conduct happened onward as appropriate relief to preclude further

   retaliatory conduct by preventing any reliance on discriminatory evaluations and

   records); Smith v. Secretary of Navy, 659 F.2d 1113, 1122 (D.C. Cir. 1981) (purged

   improper evaluation given by discriminated employee’s supervisor because

   maintenance of the prohibited assessment in employee's personnel file would damage

   him by threatening his prospects for future promotions or merit awards); see also

   Shehadeh v. Chesapeake & Potomac Telephone Co., 595 F.2d at 711, 722 (D.C. Cir.

   1978); Sibley Memorial Hospital v. Wilson, 488 F.2d 1338, 1341 (D.C.Cir. 1973).

           Other courts, including the Seventh Circuit,3 have adopted a different approach,

   allowing expunction of specifically listed documents determined by the court as harming

   the employee’s reputation and ability to find equivalent employment in the future, thus,

   precluding further discriminatory conduct by the employer. (emphasis added) In Collins

   v. Suffolk County Police Dept., 349 F. Supp. 2d 559, 564 (E.D.N.Y. 2004), the court

   ordered defendants to “purge from their personnel file the documents identified as

   Plaintiff's Trial Exhibits 16, 17, 18, 20, 21, 22, 23, 24, 25 and Defendant's Trial Exhibit

   C” to preclude "further retaliatory conduct by preventing any reliance on discriminatory

   evaluations and records”. See Collins, 349 F. Supp. 2d at 562 -563. The district court

   in Zerilli v. New York City Transit Authority held that an employee’s “personnel file [was

   to] be purged of the [specific date] evaluation and of any evaluations, comments or



           3
             See Bruso v. United Airlines, Inc., 239 F.3d 848, 864 (7th Cir. 2001); Sherkow v. Wisconsin
   Dep't of Pub. Instruction, 630 F.2d 498, 504 (7th Cir. 1980); Collins v. Suffolk County Police Dept., 349
   F. Supp. 2d 559, 564 (E.D.N.Y. 2004); Zerilli v. New York City Transit Authority, 973 F. Supp. 311, 318
   (E.D.N.Y. 1997), aff'd in part, vacated in part on other grounds, 162 F.3d 1149 (2d Cir. 1998).

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   notes made by [specific agents and managers of the defendant employer], or

   references to same” to prevent the employer from engaging in future acts of retaliation

   against the employee. Zerilli, 973 F. Supp. 311, 318 (E.D.N.Y. 1997), aff'd in part,

   vacated in part on other grounds, 162 F.3d 1149 (2d Cir. 1998). In Bruso v. United

   Airlines, Inc., the Seventh Circuit remanded to the district court with specific instructions

   to “examine [employee’s] personal record and order the expungement of all reference

   to the retaliatory demotion” since the appellate record did not contain particular

   information in the employee’s personnel file pertaining to the discrimination. Bruso v.

   United Airlines, Inc., 239 F.3d 848, 864 (7th Cir. 2001); see also e.g., Sherkow v.

   Wisconsin Dep't of Pub. Instruction, 630 F.2d 498, 504 (7th Cir. 1980) (affirming the

   district court’s order to expunge a poor performance evaluation written by the

   defendant in retaliation for the plaintiff's public exercise of her right to be free from

   gender discrimination from the plaintiff's personnel file); cf. Knapp v. Whitaker, 757

   F.2d 827, 846-47 (7th Cir. 1985) (upholding the district court expunging school

   teacher’s documents relating to the constitutionally protected speech and the retaliatory

   termination from the teacher's personnel record after the jury found that a school

   unlawfully had terminated a teacher for engaging in constitutionally protected speech).

   The Seventh Circuit in Bruso also remanded to the district court for injunctive relief

   against future retaliation conduct. See Bruso,. 239 F.3d 848, at 863.

          This Court is persuaded by the analysis of the Rau decision as well as the

   decisions of the Seventh Circuit allowing expunction of specifically listed documents

   determined by the Court as harming employee’s reputation and ability to find equivalent


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   employment in the future, thus, precluding further discriminatory conduct by the

   employer.

             During the hearing, the defendant agreed to remove from the plaintiff’s Official

   Personnel File (OPF) bates-stamped pages HudsonOPF-1.07-0002 and HudsonOPF-

   1-07-0009. The plaintiff agreed to not seek benefits for the leave without pay period

   (LWOP) or the health benefit period stated in the documents. The parties agreed that

   the defendant shall designate Phil Brown, Human Resources Director for Customs and

   Border Protection, or his successor, as the contact person to provide references for the

   plaintiff to any prospective employer. It is

             ORDERED AND ADJUDGED that the plaintiff’s request to change the word

   “removal” on the personnel form (HudsonOPF-1.07-0003) that reflects the plaintiff’s

   removal from the defendant’s service on February 26, 2005 is DENIED. It is further

             ORDERED AND ADJUDGED that the defendant shall delete from the plaintiff’s

   OPF the documents identified as: (1) bates-stamped page HudsonOPF-1.07-0002, and

   (2) the reference to LWOP found at bates-stamped page HudsonOPF-1-07-0009. It is

   further

             ORDERED AND ADJUDGED that the defendant shall not provide any

   documents contained in the plaintiff’s OPF to anyone outside the federal government.

   The defendant may provide the plaintiff’s Official Personnel File to another federal

   agency. It is further

             ORDERED AND ADJUDGED that the defendant shall not provide information

   regarding the reason for plaintiff's separation from service to any prospective employer


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   and shall provide only the dates of service and the position at the time of separation. It

   is further

           ORDERED AND ADJUDGED that the defendant and its past and present

   supervisory employees shall not provide any negative employment information

   concerning the plaintiff’s employment from March 2002 to the present to any person

   outside the Department of Homeland Security unless agreed to by the plaintiff in

   writing. It is further

           ORDERED AND ADJUDGED that the Department of Justice shall collect for the

   period from March 2002 to the present any files from the defendant’s supervisors that

   relate to the plaintiff’s personnel matters and maintain them until the conclusion of this

   litigation. The files shall not be returned to the Department of Homeland Security. Upon

   completion of this litigation, the files shall be disposed of in accordance with the

   Department of Justice protocol.



           DONE AND ORDERED, in Chambers, at Miami, Florida, this 19th day of

   March, 2007.4




                                                    JOHN J. O’SULLIVAN
                                                    UNITED STATES MAGISTRATE JUDGE

   Copies furnished to:
   All Counsel of Record


           4
            A separate order to this effect will be issued and shall be served by the defendant on all
   supervisors of the plaintiff during the time period from March 2002 to the present.

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